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             ,,. " ..:: . . IN. TIIE t;~ITED ST ATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PEN~SLYV ANIA


STEPIIA:\JIE ZBOROWSKY,

                Plaintiff,                                                             1593
                                                      Civil Action :'.',;o.
V.


CLIE:'.',;T SERVICES, INC.,

              Defendant.


                             DEFENDANT CLIE~T SERVICES, I~C.'S
                                   NOTICE OF REMOVAL

        Defendant Client Services, Inc. ("Defendant") files this Notice of Removal of this action

from the Court of Common Pleas of Chester County, Pennsylvania to the Cnited States District

Court for the Eastern District of Pennsylvania as follows:

        1.      Plaintiff Stephanie Zborowsky ("Plaintiff') filed her Original Complaint on .'.viarch

19, 2019, in the Court of Common Pleas of Chester County, Pennsylvania.

       2.      This is a civil action based on Plaintiffs contentions that Defendant has violated

the Fair Debt Collection Practices Act, 15 C.S.C. § 1692 et seq. (the "FDCPA").

        3.      Removal is proper because this case involves a federal question-alleged violations

of the FDCPA. Therefore, the entire suit is removable under 28 U.S.C. § 144l(a).

       4.       Removal is timely pursuant to 28 U.S.C. § 1446(b) because Defendant has filed this

;>,;otice of Removal within 30 days of receipt of Plaintiffs Original Complaint. Plaintiff served

the Original Complaint upon Defendant on or about March 22, 2019.

        5.     Venue is proper in this district under 28 C.S.C. §144l(a) because the state court

where the suit has been pending is located in this district.
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       6.      Pursuant to 28 lJ.S.C. § 1446(a), copies of all process, pleadings, orders and other

papers filed in this action and obtained by Defendant arc attached hereto and marked as composite

Exhibit 1 and incorporated herein by reference.

       7.      A copy of this Notice of Removal has been sent to Plaintiff and will be filed with

the clerk of the Court of Common Pleas of Chester County, Pennsylvania.

       8.      A jury demand was made in state court.

       For the above reasons, Defendant Client Services, Inc. requests that this Court assume full

jurisdiction over the proceeding as provided by law.

                                                       Respectfully Submitted,

Date: April 11, 2019                                   METZ LEWIS BROD~Al\ MCST
                                                       O'KEEFE LLC


                                                       By:   /)J)Jtt_::;I_
                                                        ~ - Tuskan (PA l.D. 311235)
                                                        5 35 Smithfield Street, gth Floor
                                                        Pittsburgh, PA 15222
                                                        Phone: (412) 918-1100
                                                        Fax: (412) 918-1199
                                                        jtuskanr~met?lewis.com
                                                        Attorneys for Defendant Client
                                                        Services, Inc.




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of

Removal was served upon the following this 11th day of April, 2019 via Electronic Mail and First-

Class U.S. Mail, postage pre-paid:


                                           Fred Davis
                                   Davis Consumer Law Firm
                                2300 Computer Road, Suite G39
                                    Willow Grove, PA 19090
                                  fdavis(dusacreditlaw'Ver.com
                                      Attorney for Plaintiff


                                                    METZ LEWIS BRODMA;'J YIUST
                                                    O'KEEFE LLC


                                                   /A/!~_))




                                               3
\•
            Case 2:19-cv-01593-ER Document 1 Filed 04/12/19 Page 4 of 14




                                                                                        Fil                b.Y
     Fred Davis, Esq.                              ATIORNEY FOR PLAINTIYF
     Identification No. 93907                                          19                                  PM

     DAVIS CONSUMER LAW FIRM               THIS IS AN ARBITRATION MATTER
     2300 Computer Rd.-Ste G39             ASSESSMb'NT OF DAMAGES
     WILLOW GROVE, PA 19090                HEARING IS REQUESTED.
     (T) 1-855-432-8475/(F) 1-855-435-9294
     fdavis@usacreditlawyer.com
     STEPHANIE ZBOROWSKY
                                  - - - - ~ - -COURT
                                                  - - -OF-COMMON
                                                           - - · - PLEAS
                                                                   -
     519 Inman Terrace                          CHESTER COUNTY
     WILLOW GROVE, PA
     19090

     Plaintiff                                           CIVIL ACTION

     v.

     CLIENT SERVICES INC.                                DOCKET NO.:
     3451 Harry S. Truman Blvd.
     St. Charles, MO
     63301-4047

     Defendant



                                         NOTICE TO DEFEND
                                            CODE: 1900

      You have been sued in court. If you wish to defend against the claims set forth in the following
      pages, you must take action within twenty (20) days after this complaint and notice are served,
       by entering a written appearance personally or by attorney and filing in writing with the comt
     your defenses or objections to the claims set forth against you. You are warned that if you fail to
     do so the case may proceed without you and a judgment may be entered against you by the court
       without further notice for any money claimed in the complaint or for any other claim or relief
       requested by the plaintiff. You may lose money or property or other rights important to you.

     YOU SHOULD TAKE THIS PAPER TO YOL'R LAWYER AT ONCE. IF YOU DO NOT
       HAVE A LAWYER OR CA~NOT AFFORD ONE, GO TO OR TELEPHONE THE
     OFFICE SET FORTH BELOW TO l<'IND OUT WHERE YOU CAN GET LEGAL HELP.

      CHESTER COUNTY BAR ASSOCIATIONMLAWYER REFERRAL& INFO SERVICE
                            Chester Bar Association
                                15 W Gay St#2,
                               West Chester, PA
                                     19380
                             Phone: (610) 692-1889
                                                              EXHIBIT

                                                                                                  j_
                                                                2019-02914-MJ
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                                                  AVISO
     Le han demandado a usted en la corte. Si usted quiere defenderse de estas de estas demandas
     expuestas an las paginas signientes, usted tiene veinte (20) dias de plaza al partir de ia fecha de
     la demanda y ia notificacion. I lace falta asentar una comparencia escrita o en persona o con un
     abogado y entregar a la carte en forma escrita sus defer.sas o sus objeciones a las demandas en
     contra de su persona. Sea avisado que si usted no se defiende, le corte tomara medidas y puede
     continuar la demanda en contra suya sin previo aviso o notificacion. Ademas, la cotte puede
     decidir a favor del demandante y requiere que usted cumpla con todas las provisiones de esta
     demanda. Usted puede perder dinero o sus propiedades u ostros derechos importantes para
     usted.

     LLEVE ESTA DEMANDA A U:S ABOGADO INMEDIATAMENTE, SI NO TIENE
     ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO.
     VAYA EN PERSONA O LLAME POR TELEFONO A LA OFICINA CUYA
     DIRRCCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SR
     PUEDE CONSEGBIR ASISTENCIA LEGAL.

                                SERVICIO DE REF,ERENCIA LEGAL
                                     Colegio de Abogados de Chester
                                             15 W Gay St #2,
                                            West Chester. PA
                                                  19380
                                          Phone: (610) 692~1889




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,,            Case 2:19-cv-01593-ER Document 1 Filed 04/12/19 Page 6 of 14




                                                                                         Fil             by
     Fred Davis, Esq.                              ATTORNEY FOR PLANTIFF
                                                                                          19             PM
     Identification No. 93907
     DAVIS CONSUMER LAW FIRM                       THIS TSAN ARBITRATION MATTEF
     2300 Computer Rd.-Ste 039                     ASSESSMENT OF DAMAGES
     WILLOW GROVE, PA 19090                        HEARING IS REQUESTED.
     (T) 1-855-432-8475/(F)l-855-435-9294
     fdavis@usacreditlawyer.com
     STEPHANIEZBOROWSKY                     I             COURT OF COMMON PLEAS
     519 Inman Terrace                                    CHESTER COl.J')JTY
     WILLOW GROVE, PA
     19090

     Plaintiff                                            CIVIL ACTION

     V.


     CLIENT SERVICES INC.                                 DOCKET NO.:
     3451 Harry S. Trwnan Blvd.
     St. Charles, MO
     63301-4047

     Defendant


                                                COM.PLAINT

                    1.      Plaintiff, STEPHANIE ZBOROWSKY, is an adult individual citizen and

     legal resident of the State of Pennsylvania, livir:g at 519 Inman Te1rnce, Philadelphia, PA,

     19090.

                    2.      Defendant, CLIENT SERVICES INC., is a business

     corporation qualified to and regularly conducting business in, the Commonwealth of

     Pennsylvania, with its legal residence and principal place of business at 3451 Han-y S. Truman

     Blvd., St. Charles, MO 63301-4047. Defendant can be served at that address.

                    3.      Plaintiff avers that at all times material hereto, Defendant acted by

     and through its authorized agents, servants, officers, and/or employees, including Defendant, all

     of whom were acting within the scope of their employment.




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                                 JURISDICTION AND VENUE
                  4.    Jurisdiction of this court arises pw·suant to 15 U.S.C. § 1692k(d),

which states that such actions may be brought and heard before "any appropriate United States

district court without regard to the amoun: in controversy, or in any other court of competent

jurisdiction').

                  5.    Defendant regularly conducts business in the State of

Pennsylvania and in the County of Chester, therefore, personal jmisdiction is established.

                  6.    Venue is proper in Chester County pursuant to Pennsylvania

Rule(s) of Civil Procedure§§ 1006 and 2179.

                  7.    Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202.
                                                 PARTIES
                  8.    Plaintiff is a natural person residing in Willow Grove, PA. Some/all of

the transactions comprising the alleged debt occurred in Chester County.

                  9.    Plaintiff is a "consumer" as that tennis defined by 15 U.S.C. §

1692a(3). The transactions comprising the alleged debt were for consumer related purchases,

such as•household hoods, food, cloth1ng. etc.

                  10.   Defendant, CLIENT SERVICES INC., is a company

handling debt collection matters with headqumters located at 3451 Harry S. Truman Blvd., St.

Charles, MO 63301-4047.

                  11.   Defendant is a debt collector as that term is defined by 15 U.S.C.

§1692a(6), and sought to collect a consumer debt from Plaintiff. as the alleged debt in questions

stems from the acquisition of personal goods and services, such as household items, clothing,

groceries, etc.

                  12.   Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and




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          insurers.
                                           FACTUAL ALLEGATIONS

                          13.       Throughout the past year, Defendant has contacted Plaintiff attempting to

          collect a debt it alleges originated with "Synchrony Bank Amazon.com Store Card". See

          Exhibits "A" and "B ".

                          14.       Plaintiff alleges and avers that Defendant misrepresented the status and

          legal nature of the alleged account, as there is no proof Defendant owes anything to

          ''SYNCHRONY BANK AMAZON.COM STORE CARD" and Defendant thereby violated 15

          U.S.C §1692e(2).

                          15.       Plaintiff alleges and avers that Defendant contacted Plaintiff at irregular

          times and places, and often times hung up before identifying itself, only to call right back, in

          violation of 15 U.S.C. §§ 1692c(a)(l) and d.

                          16.       Plaintiff alleges and avers that Defendant sought to collect amounts

          comprised largely of improper fees and/or interest, and Defendant's collection efforts were thus

          in violation of 15 U.S.C. §§1692e and f.

                          17.       Plaintiff alleges and avers that the reference to breaking the balance into 3

          monthly payments, 6 monthly payments, etc" without informing Plaintiff the amount of each
          payment is misleading and Defendant thereby further violated 15 U.S.C. §§§I692e(2), (5) and

          f(l).

                          18.       Plaintiff alleges and avers that Defendant's letter fails to inform Plaintiff

          that litigation premised on the alleged debt is barred by the applicable statute of limitatior..s, and
          that any payment or confirmation could re-start the statute, and Defendant thereby violated 15
          U S.C. § I 692e(2).




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               19.      Plaintiff alleges and avers that the absence of any infonnation regarding

Plaintiffs legal rights is an deliberate attempt to confuse Plaintiff into contacting Defendant and

paying an inflated sum for a bogus debt or waiving legal defenses, in violation of 15 U.S.C.

§1692g. Id

                                  COUNTI
             THE FAIR DEBT COLLECTION PRACTICES ACT ("FDCPA,,)
               20.      In its actions to collect a disputed debt, Defendant violated the
FDCPA in one or more of the following ways:
                       a. Harassing, oppressing or abusing Plaintiff in connection with the
collection of a debt in violation of 15 U.S.C. § 1692d.

                       b. Using misrepresentations or deceptive means to collect a debt in

violation of 15 U.S.C. § 1692e(10).

                       c. Using unfair or unconscionable means to collect a debt in

violation of 15 U.S.C. §1692f.

                     d. By acting in an otherwise deceptive, unfair and unconscionable

manner and failing to comply with the FDCPA.

       WHEREFORE, Plaintiff, STEPHANIE ZBOROWSKY, respectfully prays for a

judgment as follows:

                        a.      All actual compensatory damages suffered pursuant to 15

U.S.C. § 1692k(a)(l);

                        b.      Statutory damages of $1,000.00 for each violation of the

FDCPA pursuant to 15 C.S.C. § 1692k(a)(2)(A);

                        c.      All reasonable attorneys' fees, witness fees, court costs and

other litigation costs incurred by Plaintiff pursuant to 15 U.S.C. § I693k(a)(3); and

                        d.     Any other relief deemed appropriate by this Honorable



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Court.
                           COUNT TWO
    THE PENNSYLVANIA L~FAIR TRADE PRACTICES ACT AND CONSUMER
                    PROTECTION LAW {"UFTPL")

               21.       Plaintiff hereby incorporates all facts and allegations specified in

paragraphs above, by reference as if fully set forth at length.

               22.       Plaintiff is a '1Person 11 as defined by 73 P.S. § 201-2(2).

               23.       Defendant is a "Person(s)" as defined by 73 P.S. § 201-2(2).

               24.       The Pennsylvania Unfair Trade Practices and Consumer

Protection Act, 73 P.S. § 201-2(4), defines 11 unfair or deceptive acts or practices" to

include the following:

                (a) Causing likelihood of confusion or of misunderstanding as to the

soUl'ce, sponsorship, approval or certification of goods or services;

                (b) Causing likelihood of confusion or of misunderstanding as to

affiliation, connection or association with, or certification by, another;

               (c) Engaging in any other fraudulent or deceptive conduct

which creates a likelihood of confusion or of misunderstanding;

               (d) Any violation of 73 Pa. Cons. Stat. Ann.§ 2270.

               25.       Plaintiff alleges and avers that Defendants violated the Act by

misrepresenting that any debt was owed, and further by claiming that improper fees and

exorbitant charges were part of the alleged debt, and that Defendant's conduct complained of

herein paragraphs amounts to violations of the Fair Credit Uniformity Extension Act, 73 Pa. C.S.

§ 2270, et seq, and is thus a concomitant violation of the Unfair Trade Practices Act.




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               26.     Plaintiff further alleges and avers that Defendant's misleading reference to

account ownership, unspecified fees and interest, misreporting of credit information and

misrepresentations surrounding the alleged debt was done to confuse and deceive Plaintiff into

thinking the debt was legitimate, and Defendant thereby violated the Act.

               27.     The UTPCPL authorizes the Court, in its discretion, to award up to

three (3) times the actual damages sustained for violations, and/or $100.00 for statutory damages.

Plaintiff avers entitlement to all actual and statutory damages, as well as written confirmation

that Defendant has properly reported to the relevant credit bureaus accurate information

suITounding the invalidation of the bogus "debtl', plus treble that amount, and attorney fees and

costs, for Defendant's per se and statutory violations of Pennsylvania Law.



                              DAVIS CONSUMER LAW FIRM

                       By:    :~ed Davis-PA I #-"~.,_39_0_7_-·_····- - -
                              Attorney for Plaintiff, STEPHANIE ZBOROWSKY
                              2300 Computer Rd.-Ste 039
                              Willow Grove, Pa 19090
                              Tel-1-855-432-8475/Facsimile-1-855-435-9294
                              Email: fdavis@usacred.it1awyer .com




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                                               VERIPICATION

                     Fred Davis, states that he is the attorney for the Plaintiff herein; that he is acquainted with

             the facts set forth in the foregoing Complaint; that same are true and correct to the best of his

             knowledge, information and belief; and that this statement is made subject to the Penalties of 18

             Pa. C.S.A. §4904, relating to unsworn falsifications to authorities.



                                             DAVIS CO~SL'MER LAW FIRM


                                       By:   fsl       7JJJ~
                                             Fred Davis-PA ID# 93907
                                             Attorney for Plaintiff, STEPHANIE ZBOROWSKY
                                             2300 Computer Rd.-Ste G39
                                             Willow Grove, Pa 19090
                                             Tel-· 1-855-432-8475/Facsimile-1-855-435-9294
                                             Email: fdavis@usacreditlawyer.com




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        EXHIBIT                                                     I

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                         Case 2:19-cv-01593-ER Document 1 Filed 04/12/19 Page 14 of 14                                                                                                                                 I1
                                                                                                                                                                        Office Hours (Central Time)

~
3451 Harry S Truman Blvd.
                                                                                                                                                                        Monday-Thursday. 8am-8pm
                                                                                                                                                                              Friday: Bam-5pm
                                                                                                                                                                            Saturday. 7am·11am
                                                                                                                                                                               Sunday: Closed
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                       I
Saint Charles, MO 63301-4047
CREDITOR: Synchrony Bank Amazon.com Store Card                                                                                                                               PHONE: 877-552-5924                       II
ACCOUNT NUMBER. XXXXXXXXXXXX.6145
BALANCE DUE: $3,376.94                                                                                                                                                             DATE: 10/8/2::>18
REFERENCE NUMBER: 26863419
                                                                                                                                                                                                                       I
Dear Valued Customer:
In an effort to resolve the above-referenced account, we are authorized to discuss payment options. We have many
                                                                                                                                                                                                                       II
payment options that may meet your individual needs, including breaking the balance lnto 3 monthly payments, 6 monthly
payments, or 12 monthly payments.

I want to work with you to find a payment solution that fits your needs. Please call me at 877-552-5924.

1look forward to working with you to resolve this balance.

Josh Pinkowski
Client Services, Inc.

            THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT A DEBT
                       ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

           FOR IMPORTANT R!GHTS AND PRIVILEGES WHICH MIGHT APPLY TO YOUR STATE OF RESIDENCE,
                   PLEASE SEE BELOW OR REVERSE S!DE (IF FAXED THEN FOLLOWING PAGE).




    ,ri.t.          Send your payment in the enclosed envelope using the
                                 remittance coupon below.                                                                       II                     Or.line: www. osico1sumercenter. com


      Iii                              Pay-by-Phone: 1-877-552-5905
                                                        -·   -   -   4,.~- , . . . . -
                                                                                         ~   _...,   .   ._...,,   . ._......
                                                                                                                                ·o
                                                                                                                                .W.,
                                                                                                                                        If you are unable to pay the balance In full, contact our
                                                                                                                                        office at 877-552-5924 for payment options. wl)lch may
                                                                                                                                        •     . . ... _ _.be.a:.tallable-to v.ou .... - ------·- --- ·•




        PO Box "586
        Saint Peters, MO 63376




                                                                                                                                  Checks Payable To: Client Services, Inc.



     11111 II II II II ii 1111111111' 1•1' I• •I 1111 l111 l•l1 •llf I I 11111 I[1'· 'II                                          CLIENT SERVICES, INC.
    ~~             STEPHANIE ZBOROWSKY                                                                                            3451 HARRY S. TRUMAN BLVD
    fm 519 INMAN TER                                                                                                              ST. CHARLES MO 63301-4047
                   WILLOW GROVE PA 19090·3613                                                                                     I I11 I1111111 lIll 1l 111 l I I Iln III n1IIlll'111. IJI II! Ill I l II la hI (II


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